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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 Jarvis Porter,

                                         Plaintiff,                Notice of Suggestion
                                                                         of Death
        v.
                                                               Case No.: 16-cv-6747 FPG
 T.J. McDonnell, New York State Police K9 John
 Doe, Deputy Gary Carpino,

                                         Defendants.



       Defendant Deputy Gary Carpino by his attorneys Michael E. Davis, Monroe County

Attorney, Michele Romance Crain, Esq., Senior Deputy County Attorney, represent to the Court

that Plaintiff Jarvis Porter died on or about December 25, 2017 in Rochester, New York.


Dated: January 31, 2018                         MICHAEL E.DAVIS, ESQ.
                                                MONROE COUNTY ATTORNEY
                                                Attorney for defendants

                                                s/Michele Romance Crain
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To:     Gary Levine, attorney for McDonnell
